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                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF TEXAS
                         CORPUS CHRISTI DIVISION

UNITED STATES OF AMERICA,                     4
     Plaintiff,                               8
                                              §
v.                                            5          Cr. No. G-06-08 (2)
                                              §
KEELON JMAR SENEGAL,                          5
    Defendant.                                8
                      MEMORANDUM OPINION AND ORDER
                       DENYING MOTION FOR NEW TRIAL

       Pending before the Court is a pro se motion filed by Defendant Keelon Jmar Senegal

("Senegal") and titled as a "Motion for New Trial - Newly Discovered Evidence or in the

Alternative - Motion for Evidentiary Hearing." D.E. 353. For the reasons set forth herein, the

motion is DISMISSED for lack of jurisdiction. Also pending before the Court is Senegal's

letter request dated April 19, 20 10 (D.E. 350), requesting copies of his trial transcripts, a

copy of the Docket Sheet, and a copy of the Government's Exhibit list. This request is

DENIED in part and GRANTED in part as set forth below.

                               I. Procedural Backpround

       Senegal was found guilty after a jury trial that was held before Judge Samuel B. Kent

in July 2007. D.E. 166-178. A number of subsequent motions, including a motion for new

trial, were denied by United States District Judge Lynn N. Hughes on December 1 1,2007.

D.E. 222.
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       In January 2008, Judge Kent recused himself from the case, and the case was assigned

to the undersigned. D.E. 229; see also Docket Entries Dated January 9, 2008. Senegal was

sentenced by this Court on April 11, 2008. D.E. 277. Senegal timely appealed. The Fifth

Circuit affirmed in a per curiam opinion issued on March 23, 20 10, and issued as mandate

on April 14, 2010. D.E. 348.

       On May 17, 20 10, the Clerk received Senegal's "Motion for New Trial." D.E. 353.

In it, Senegal contends that the trial judge, Judge Kent, knew as early as June 8, 2007, that

"he was being investigated for federal crimes . . ." D.E. 353 at 1-2. Senegal claims that

because Judge Kent knew he was being investigated by the same United States Attorney's

Office that was prosecuting Senegal, there was a conflict of interest that should have resulted

in an earlier recusal by Judge Kent. Defendant further contends that Judge Kent "showed his

bias numerous times" during trial,' and further asserts that Judge Kent "appeared to be

intoxicated at trial." D.E. 353 at 3.

       A motion for new trial must be made within seven days of the finding of guilty or the

verdict, unless the motion is based on the discovery of new evidence. Fed. R. Crim. P. 33.

Where the motion is based on newly discovered evidence, the motion must be filed within

three years of the guilty verdict. The time limits in Rule 33 are jurisdictional. United States




       ' Notably, the Fifth Circuit addressed and rejected claims of bias by Judge Kent on
appeal. See D.E. 348 at 19-2 1.
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v. Bowler, 252 F.3d 741,743 (5th Cir. 2001); United States v. Erwin, 277 F.3d 727,732 (5th



       In this case, to the extent Senegal's claim can be said to be based on "newly

discovered evidence," it is arguably timely.

       Although Senegal contends that the evidence regarding Judge Kent is "newly

discovered evidence,"any claim that Judge Kent appeared "intoxicated" at trial is not

evidence that could be newly discovered. Senegal was present at the trial and had the

opportunity at that time to observe any behavior by the trial judge then.

       To the extent that Senegal is arguing that he only recently discovered that Judge Kent

was being investigated for federal crimes at the time of trial, this, too, is without merit.

Indeed, Senegal himself filed a motion on December 5, 2007 (D.E. 217), in which he

referenced Judge Kent's investigation:

      The Defendant filed his motion more than 120 days ago, and because of Judge
      Kent's complications, the Defendant is being denied due process . . .
      .Defendant's sentencing was originally set for 10/12/2007 at 10:30 AM, but
      in lieu of Judge Kent's investigation and reprimand, it was reset for 1/25/2008
      at 10: 15 AM. Defendant filed a "Motion for New Trial-Newly Discovered
      evidence" (Inst. # 196) and Judge Kent, knowing he had to vacate his post on
      813 112207, quickly issued his "Opinion and Order" . . . .

Id. at 2. Judge
-                 Kent recused himself on January 10, 2008. D.E. 229, and this Court

announced in open court that Judge Kent was no longer hearing cases to which the United

States is a party on May 15,2008. D.E. 302 at 5. Senegal was present at that hearing. Based

upon his own filings, Senegal knew no later than December 2007, more than two years
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before he filed his current motion for new trial that Judge Kent was being investigated and

had been reprimanded. D.E. 2 17. Thus Senegal's motion for new trial is untimely and this

Court does not have jurisdiction to consider his motion. See Bowler, 252 F.3d at 743; Erwin,

277 F.3d at 732.

11.    Procedure for Filing 5 2255 Motion

       Although this Court may not consider untimely claims brought as a motion for new

trial, Senegal's claims regarding Judge Kent's alleged conflict of interest is a claim that may

be cognizable in a motion pursuant to 28 U.S.C. 5 2255. Senegal's motion does not reference

28 U.S.C. 5 2255, but instead relied on federal Rule of Criminal Procedure 33. Because he

has not clearly evidenced an intent to file a 5 2255 motion, and in light of the Supreme

Court's decision in Castro v. United States, 540 U.S. 375 (2003), the Court declines to

construe Senegal's motion as a section 2255 motion. Cf. Castro, 540 U.S. at 382-83 (if a

district court recharacterizes apost-conviction motion as a 5 2255 motion and fails to provide

adequate notice and warning to the defendant of the consequences of the recharacterzation,

then the motion is not a first petition for purposes of applying to later motions the restrictions

on "second or successive" 5 2255 motions). The Clerk is directed, however, to send the

appropriate forms to Senegal for filing such a motion.

       Moreover, pursuant to the directives of Castro, Senegal is advised that if he files a

5 2255 motion asserting claims of ineffective assistance of counsel, he may be prohibited
from asserting additional 5 2255 claims in the future and from filing any subsequent 5 2255
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motion. See 28 U.S.C. tj 2255 (prohibiting the filing of a "second or successive motion"

unless certain procedural steps are taken and certain prerequisites are met).' That is, before

he will be permitted to file a second or successive § 2255 motion before the district court,

Senegal will be required to seek, and acquire, the approval of the Fifth Circuit and will have

to establish certain grounds in order to obtain that approval.       Tolliver v. Dobre, 21 1 F.3d

876, 877 (5th Cir. 2000); 28 U.S.C.         2244(b)(3)(A) ("Before a second or successive

application permitted by this section is filed in the district court, the applicant shall move in

the appropriate court of appeals for an order authorizing the district court to consider .the

application."); United States v. Orozco-Ramirez, 2 11 F.3d 862 (5th Cir. 2000) (discussing

what constitutes a second or successive claim where a defendant's first tj 2255 results in an

out-of-time appeal). Thus, any and all claims that Senegal wishes the Court to consider

should be asserted in any $ 2255 motion he files.

       Senegal is further advised that a section2255 motion must ordinarily be filed within

a year after a defendant's conviction becomes final. In this case, Senegal's conviction


       ' The pertinent portion of 4 2255 states:
              A second or successive motion must be certified as provided in section 2244
              by a panel of the appropriate court of appeals to contain -
                      (1) newly discovered evidence that, if proven and viewed in light of
                      the evidence as a whole, would be sufficient to establish by clear and
                      convincing evidence that no reasonable factfinder would have found
                      the movant guilty of the offense; or
                      (2) a new rule of constitutional law, made retroactive to cases on
                      collateral review by the Supreme Court, that was previously
                      unavailable.
       28 U.S.C. § 2255(h).
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became final 90 days after the Fifth Circuit issued its decision on March 23, 2010.

Accordingly, if he wishes to file a $ 2255 motion, he should do so not later than June 20,

201 1.

         To the extent he seeks any substantive relief through his current letter motion, it is

DENIED WITHOUT PREJUDICE to Senegal's ability to file a proper $ 2255 motion.

                            111. REQUEST FOR DOCUMENTS

         During the proceedings below, Senegal was furnished counsel as an indigent

defendant and has remained in custody from transfer to federal custody early in these

proceedings through his conviction. D.E. 19,22. An ind.igentdefendant does not have a right

to documents at government expense unless the transcripts are necessary to decide a pending

action and the pending action is not frivolous. See 28 U.S.C. $ 753(f) (in order to be entitled

to transcripts, an indigent defendant must establish that the transcripts are needed to decide

an issue in a pending suit and that the suit is not frivolous); see also United States v. Herrera,

474 F.2d 1049, 1049-50 (5th Cir. 1973) ("This Court has consistently held that a federal

prisoner is not entitled to obtain copies of court records at the government's expense to search

for possible defects merely because he is indigent.").

         Senegal states that he needs transcripts and a copy of .the government's exhibit list to

prepare his section 2255 motion. Most 2255 motions are filed without benefit of the

transcripts or other record documents. Senegal does not have any pending action before this
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Court. His request for transcripts and the government's exhibit list at government expense

(D.E. 350) are DENIED without prejudice.

                                     CONCLUSION

       For the foregoing reasons, Senegal's motion for new trial is DISMISSED For lack of

jurisdiction. Senegal's request for transcripts and the government's exhibit list is DENIED.

The Clerk is directed to provide a copy of a blank 28 U.S.C. 5 2255 motion to Senegal and

Senegal is advised to review carefully the Court's warnings set forth in Section I1 of this

Order. The Clerk is also directed to send Senegal a copy of the Docket Sheet and instructions

on ordering documents at his own expense should he desir to do so.
                                                          7
       It is so ORDERED this @ d a y of      I              , 2010.
